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                                        UNITED STATES DISTRICT COURT

                                       NORTHERN DISTRICT OF CALIFORNIA


           EPIC GAMES, INC.,                                Case No.20-cv-05640-YGR
                          Plaintiff,
                                                            CLERK’S NOTICE
                     v.
                                                            Re: Dkt. No. 1568, 1590
           APPLE INC., et al.,
                          Defendants.



                 You are hereby notified that hearing on the Motion to Enforce Injunction previously set

        for May 27, 2025, is vacated.



        Dated: May 20, 2025
                                                         Mark B. Busby
                                                         Clerk, United States District Court



                                                         By: ________________________
                                                         Edwin Angelo A. Cuenco, Deputy Clerk to the
                                                         Honorable YVONNE GONZALEZ ROGERS
                                                         5106373540




Clerk’s-Notice_CRD
rev. June 2018
